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10
                              UNITED STATES DISTRICT COURT
11
                             CENTRAL DISTRICT OF CALIFORNIA
12

13
      ROCIO JUAREZ RUIZ, individually, and Case No.: 5:22-cv-00693 FMO (KKx).
14    on behalf of all others similarly situated,
                                                  Assigned to: Hon. Fernando M. Olguin
15                 Plaintiff,                     Magistrate Judge: Hon. Kenly Kiya
                                                  Kato
16
              vs.                                SECOND AMENDED PAGA
17                                               REPRESENTATIVE ACTION
                                                 COMPLAINT:
18    TESLA, INC., a Delaware corporation
      dba TESLA MOTORS, INC.;             1. Civil Penalties Under PAGA [Cal.
19    ATLANTIC SOLUTIONS GROUP INC.,         Lab. Code § 2699, et seq.]
      a Delaware corporation; and DOES 1
20    through 10, inclusive,              DEMAND FOR JURY TRIAL

21                     Defendants                Complaint filed:   November 22, 2021
                                                 Trial date:        Not set
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 1             Plaintiff Rocio Juarez Ruiz (“Plaintiff”), based upon facts that either have
 2    evidentiary support or are likely to have evidentiary support after a reasonable
 3    opportunity for further investigation and discovery, alleges as follows:
 4                      INTRODUCTION & PRELIMINARY STATEMENT
 5             1.      Plaintiff brings this action against Defendants Tesla, Inc. dba Tesla
 6    Motors, Inc., Atlantic Solutions Group Inc., and Does 1 through 10 (collectively
 7    referred to as “Defendants”) for civil penalties under the Private Attorneys General
 8    Act of 2004, California Labor Code §§ 2698 et seq. (“PAGA”) stemming from
 9    Defendants’ failure to pay for all hours worked (including minimum wages, straight
10    time wages, and overtime wages), failure to provide meal periods, failure to
11    authorize and permit rest periods, failure to indemnify necessary business expenses,
12    failure to maintain accurate records of hours worked and meal periods, failure to
13    timely pay all wages to terminated employees, and failure to furnish accurate wage
14    statements.
15             2.      For over 50 years, California’s courts and legislature have recognized
16    that this State’s wage-and-hour laws serve a compelling public interest of fostering
17    a stable job market. Wages are not ordinary debts. Because of the economic
18    position of the average worker and his or her family, it is essential to the public
19    welfare that employers obey the wage-and-hour laws so that employees are
20    promptly paid the minimum/overtime wages that the Legislature has required for
21    employees. So fundamental are California’s wage-and-hour laws that the
22    Legislature has criminalized certain types of violations. In extending extra
23    protection to deter violations of these underlying statutes—since Plaintiff is not
24    seeking general and/or special damages, restitution or other damages other than
25    civil penalties—California has enacted the PAGA to permit an individual to bring
26    an action on behalf of himself and on behalf of others for PAGA penalties only,
27    which is the precise and sole nature of this action.
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 1             3.      All California Atlantic Solutions Group, Inc. employees during the
 2    relevant statutes of limitations who performed work for Tesla, Inc. and have been
 3    harmed by Defendants’ illegal practices are “Aggrieved Employees.”
 4             4.      Plaintiff brings this action against Defendants seeking only to recover
 5    penalties for himself, on behalf of all Aggrieved Employees that worked for
 6    Defendants, and on behalf of the State of California. Plaintiff does not seek to
 7    recover anything other than penalties as permitted by California Labor Code
 8    Section 2699 at this time. To the extent that statutory violations are mentioned for
 9    wage violations, Plaintiff does not seek underlying general and/or special damages
10    for those violations, but simply penalties as permitted by California Labor Code
11    Section 2699, declaratory relief, and injunctive relief for himself and all aggrieved
12    employees as permitted by the PAGA.
13             5.      Defendants own/owned and operate/operated an industry, business,
14    and establishment within the State of California, including San Bernardino. As
15    such, and based upon all the facts and circumstances incident to Defendants’
16    business in California, Defendants are subject to the California Labor Code, Wage
17    Orders issued by the Industrial Welfare Commission (“IWC”), and the California
18    Business & Professions Code.
19             6.      Despite these requirements, throughout the statutory period Defendants
20    maintained a systematic, company-wide policy and practice of:
21                     (a)   Failing to pay employees for all hours worked, including all
22                           minimum wages, straight time wages, and overtime wages in
23                           compliance with the California Labor Code and IWC Wage
24                           Orders;
25                     (b)   Failing to provide employees with timely and duty-free meal
26                           periods in compliance with the California Labor Code and IWC
27                           Wage Orders, failing to maintain accurate records of all meal
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 1                           periods taken or missed, and failing to pay an additional hour’s
 2                           pay for each workday a meal period violation occurred;
 3                     (c)   Failing to authorize and permit employees to take timely and
 4                           duty-free rest periods in compliance with the California Labor
 5                           Code and IWC Wage Orders, and failing to pay an additional
 6                           hour’s pay for each workday a rest period violation occurred;
 7                     (d)   Failing to reimburse for necessary business expenses;
 8                     (e)   Failing to maintain accurate records of the hours employees
 9                           worked;
10                     (f)   Willfully failing to pay employees all meal period, rest period,
11                           minimum wages, straight time wages, and overtime wages due
12                           within the time period specified by California law when
13                           employment terminates; and
14                     (g)   Failing to provide employees with accurate, itemized wage
15                           statements containing all the information required by the
16                           California Labor Code and IWC Wage Orders.
17             7.      On information and belief, Defendants, and each of them were on
18    actual and constructive notice of the improprieties alleged herein and intentionally
19    refused to rectify their unlawful policies. Defendants’ violations, as alleged above,
20    during all relevant times herein were willful and deliberate.
21             8.      At all relevant times, Defendants were and are legally responsible for
22    all of the unlawful conduct, policies, practices, acts and omissions as described in
23    each and all of the foregoing paragraphs as the employer of Plaintiff and the
24    Aggrieved Employees. Further, Defendants are responsible for each of the
25    unlawful acts or omissions complained of herein under the doctrine of “respondeat
26    superior”.
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 1                                          THE PARTIES
 2             A.      Plaintiff
 3             9.      Plaintiff is a California resident that worked for Defendants in the
 4    County of San Bernardino, State of California, as an inspector from approximately
 5    May 2021 to the present.
 6             B.      Defendants
 7             10.     Plaintiff is informed and believes, and based upon that information and
 8    belief alleges, that Defendant Atlantic Solutions Group Inc. is:
 9                     (a)   A Delaware corporation with its principal place of business in
10                           San Bernardino, California.
11                     (b)   A business entity conducting business in numerous counties
12                           throughout the State of California, including in San Bernardino
13                           County; and
14                     (c)   The former employer of Plaintiff, and the current and/or former
15                           employer of the Aggrieved Employees. Defendant suffered and
16                           permitted Plaintiff and the Aggrieved Employees to work,
17                           and/or controlled their wages, hours, or working conditions.
18             11.     Plaintiff is informed and believes, and based upon that information and
19    belief alleges, that Defendant Tesla, Inc. dba Tesla Motors, Inc. is:
20                     (a)   A Delaware corporation with its principal place of business in
21                           Alameda County, California.
22                     (b)   A business entity conducting business in numerous counties
23                           throughout the State of California, including in San Bernardino
24                           County; and
25                     (c)   The former employer of Plaintiff, and the current and/or former
26                           employer of the Aggrieved Employees. Defendant suffered and
27                           permitted Plaintiff and the Aggrieved Employees to work,
28                           and/or controlled their wages, hours, or working conditions.
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 1             12.     Plaintiff does not know the true names or capacities of the persons or
 2    entities sued herein as Does 1-10, inclusive, and therefore sues said Defendants by
 3    such fictitious names. Each of the Doe Defendants was in some manner legally
 4    responsible for the damages suffered by Plaintiff and the Aggrieved Employees as
 5    alleged herein. Plaintiff will amend this complaint to set forth the true names and
 6    capacities of these Defendants when they have been ascertained, together with
 7    appropriate charging allegations, as may be necessary.
 8             13.     At all times mentioned herein, the Defendants named as Does 1-10,
 9    inclusive, and each of them, were residents of, doing business in, availed
10    themselves of the jurisdiction of, and/or injured a significant number of the Plaintiff
11    and the Aggrieved Employees in the State of California.
12             14.     Plaintiff is informed and believes and thereon alleges that at all
13    relevant times each Defendant, directly or indirectly, or through agents or other
14    persons, employed Plaintiff and the other Aggrieved Employees, and exercised
15    control over their wages, hours, and working conditions. Plaintiff is informed and
16    believes and thereon alleges that, at all relevant times, each Defendant was the
17    principal, agent, partner, joint venturer, officer, director, controlling shareholder,
18    subsidiary, affiliate, parent corporation, successor in interest and/or predecessor in
19    interest of some or all of the other Defendants, and was engaged with some or all of
20    the other Defendants in a joint enterprise for profit, and bore such other
21    relationships to some or all of the other Defendants so as to be liable for their
22    conduct with respect to the matters alleged below. Plaintiff is informed and
23    believes and thereon alleges that each Defendant acted pursuant to and within the
24    scope of the relationships alleged above, that each Defendant knew or should have
25    known about, and authorized, ratified, adopted, approved, controlled, aided and
26    abetted the conduct of all other Defendants.
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 1                   ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
 2             15.     Plaintiff worked for Defendants in Riverside County, California as an
 3    inspector from approximately May 2021 to the present. At all times Defendants
 4    classified Plaintiff as non-exempt from California’s overtime requirements. During
 5    the statutory time period, Plaintiff was typically scheduled to work 5 days in a
 6    workweek, and typically in excess of 8 hours in a single workday.
 7             16.     Throughout Plaintiff’s employment, Defendants committed numerous
 8    labor code violations under state law. As discussed below, Plaintiff’s experience
 9    working for Defendants was typical and illustrative.
10             17.     Throughout the statutory period, Defendants failed to pay Plaintiff for
11    all hours worked (including minimum wages and overtime compensation), failed to
12    provide Plaintiff with uninterrupted meal periods, failed to authorize and permit
13    Plaintiff to take uninterrupted rest periods, failed to maintain accurate records of
14    the hours Plaintiff worked, failed to timely pay all final wages to Plaintiff when
15    Defendants terminated Plaintiff’s employment, and failed to furnish accurate wage
16    statements to Plaintiff. As discussed below, Plaintiff’s experience working for
17    Defendants was typical and illustrative.
18             18.     Throughout the statutory period, Defendants maintained a policy and
19    practice of not paying Plaintiff, and the Aggrieved Employees for all hours worked,
20    including all overtime wages. Plaintiff and the Aggrieved Employees were
21    required to work “off the clock”, and uncompensated. For example, prior to
22    clocking into work, Plaintiff and the Aggrieved Employees were required to
23    undergo a security badge check and COVID temperature screening, involving a
24    photograph taken at the entrance, uncompensated. Plaintiff and the Aggrieved
25    Employees were also required to wait in line for the security badge check,
26    photograph screening, and in order to clock into work each workday. Also,
27    Plaintiff and the Aggrieved Employees were required to eat their meals at
28    designated areas such as the cafeteria, which took time to walk to after clocking
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 1    out, uncompensated. In maintaining a practice of not paying all wages owed,
 2    Defendants failed to maintain accurate records of the hours Plaintiff and the
 3    Aggrieved Employees worked.
 4             19.     Throughout the statutory period, Defendants have wrongfully failed to
 5    provide Plaintiff, and the Aggrieved Employees with legally compliant meal
 6    periods. Defendants regularly, but not always, required Plaintiff, and the
 7    Aggrieved Employees to work in excess of five consecutive hours a day without
 8    providing a 30-minute, continuous and uninterrupted, duty-free meal period for
 9    every five hours of work, or without compensating Plaintiff, and the Aggrieved
10    Employees for meal periods that were not provided by the end of the fifth hour of
11    work or tenth hour of work. Defendants did not adequately inform Plaintiff, and
12    the Aggrieved Employees of their right to take a meal period by the end of the fifth
13    hour of work, or, for shifts greater than 10 hours, by the end of the tenth hour of
14    work. Defendants also did not have adequate policies or practices to document and
15    verify whether Plaintiff, and the Aggrieved Employees were taking their required
16    meal periods. Accordingly, Defendants’ policy and practice was to not provide
17    meal periods to Plaintiff, and the Aggrieved Employees in compliance with
18    California law.
19             20.     Throughout the statutory period, Defendants have wrongfully failed to
20    authorize and permit Plaintiff, and the Aggrieved Employees to take timely and
21    duty-free rest periods. Defendants regularly, but not always, required Plaintiff, and
22    the Aggrieved Employees to work in excess of four consecutive hours a day
23    without Defendants authorizing and permitting them to take a 10-minute,
24    continuous and uninterrupted, rest period for every four hours of work (or major
25    fraction of four hours), or without compensating Plaintiff, and the Aggrieved
26    Employees for rest periods that were not authorized or permitted. Accordingly,
27    Defendants’ policy and practice was to not authorize and permit Plaintiff, and the
28    Aggrieved Employees to take rest periods in compliance with California law.
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 1             21.     Throughout the statutory period, Defendants wrongfully required
 2    Plaintiff and the Aggrieved Employees to pay expenses that they incurred in direct
 3    discharge of their duties for Defendants without reimbursement, such as the
 4    purchase of scissors and masks, without reimbursement. Plaintiff, and the
 5    Aggrieved Employees were also required to use their own personal cellular
 6    telephones for work, which included downloading an application in order to
 7    communicate with Defendants.
 8             22.     Throughout the statutory period, Defendants willfully failed and
 9    refused to timely pay Plaintiff and the Aggrieved Employees at the conclusion of
10    their employment all wages, including overtime wages, meal period premium
11    wages, and rest period premium wages.
12             23.     During the statutory period, Defendants failed to furnish Plaintiff and
13    the Aggrieved Employees with accurate, itemized wage statements showing all
14    applicable hourly rates, and all gross and net wages earned (including wages for
15    meal periods that were not provided in accordance with California law, wages for
16    rest periods that were not authorized and permitted to take in accordance with
17    California law, and correct wages earned for hours worked). As a result of these
18    violations of California Labor Code § 226(a), the Plaintiff and the Aggrieved
19    Employees suffered injury because, among other things:
20                     (a)   the violations led them to believe that they were not entitled to
21                           be paid minimum wages, overtime wages, meal period premium
22                           wages, and rest period premium wages, even though they were
23                           entitled;
24                     (b)   the violations led them to believe that they had been paid the
25                           minimum, overtime, meal period premium, and rest period
26                           premium wages to which they were entitled, even though they
27                           had not been;
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 1                     (c)   the violations led them to believe they were not entitled to be
 2                           paid minimum, overtime, meal period premium, and rest period
 3                           premium wages at the correct California rate even though they
 4                           were;
 5                     (d)   the violations led them to believe they had been paid minimum,
 6                           overtime, meal period premium, and rest period premium wages
 7                           at the correct California rate even though they had not been;
 8                     (e)   the violations hindered them from determining the amounts of
 9                           minimum, overtime, meal period premium, and rest period
10                           premium wages owed to them;
11                     (f)   in connection with their employment before and during this
12                           action, and in connection with prosecuting this action, the
13                           violations caused them to have to perform mathematical
14                           computations to determine the amounts of wages owed to them,
15                           computations they would not have to make if the wage
16                           statements contained the required accurate information;
17                     (g)   by understating the wages truly due them, the violations caused
18                           them to lose entitlement and/or accrual of the full amount of
19                           Social Security, disability, unemployment, and other
20                           governmental benefits;
21                     (h)   the wage statements inaccurately understated the wages, hours,
22                           and wages rates to which Plaintiff and the Aggrieved Employees
23                           were entitled, and Plaintiff and the Aggrieved Employees were
24                           paid less than the wages and wage rates to which they were
25                           entitled.
26    Thus, Plaintiff and the Aggrieved Employees are owed the amounts provided for in
27    California Labor Code § 226(e).
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 1                                   FIRST CAUSE OF ACTION
 2          (Against all Defendants for Civil Penalties Under the Private Attorneys
 3                       General Act of 2004, Cal. Lab. Code § 2698 et seq.)
 4             24.     Plaintiff incorporates by reference and re-alleges all preceding
 5    paragraphs as though fully set forth herein.
 6             25.     At all times herein mentioned, Defendants were subject to the Labor
 7    Code of the State of California and the applicable Industrial Welfare Commission
 8    Orders.
 9             26.     California Labor Code § 2699(a) specifically provides for a private
10    right of action to recover penalties for violations of the Labor Code:
11    “Notwithstanding any other provision of law, any provision of this code that
12    provides for a civil penalty to be assessed and collected by the Labor and
13    Workforce Development Agency or any of its departments, divisions, commissions,
14    boards, agencies, or employees, for a violation of this code, may, as an alternative,
15    be recovered through a civil action brought by an aggrieved employee on behalf of
16    himself or herself and other current or former employees pursuant to the procedures
17    specified in Section 2699.3.”
18             27.     Plaintiff has exhausted his administrative remedies pursuant to
19    California Labor Code § 2699.3. On November 11, 2021, he gave written notice by
20    online filing to the Labor and Workforce Development Agency and by certified
21    mail to Defendants of the specific provisions of the Labor Code that Defendants
22    have violated against Plaintiff and current and former aggrieved employees,
23    including the facts and theories to support the violations. Plaintiff also paid the
24    filing fee shortly after November 11, 2021. Plaintiff’s PAGA case number is
25    LWDA-CM-852063-21
26             28.     The statute of limitations is tolled while a plaintiff exhausts his/her
27    administrative remedies with California’s Labor and Workforce Development
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 1    Agency (LWDA) prior to suit, which is required by the statute. (See Cal. Lab.
 2    Code § 2699.3(d).)
 3             29.     More than 65 days has elapsed since Plaintiff provided notice, but the
 4    Labor and Workforce Development Agency has not indicated that it intends to
 5    investigate Defendants’ Labor Code violations discussed in the notice.
 6    Accordingly, Plaintiff may commence a civil action to recover penalties under
 7    Labor Code § 2699 pursuant to § 2699.3 for the violations of the Labor Code
 8    described in this Complaint. These penalties include, but are not limited to,
 9    penalties under California Labor Code §§ 210, 226.3, 1197.1, and 2699(f)(2).
10             30.     In addition, Plaintiff seeks penalties for Defendants’ violation of
11    California Labor Code § 1174(d). Pursuant to California Labor Code § 1174.5, any
12    person, including any entity, employing labor who willfully fails to maintain
13    accurate and complete records required by California Labor Code § 1174 is subject
14    to a penalty under § 1174.5. Pursuant to the applicable IWC Order § 7(A)(3), every
15    employer shall keep time records showing when the employee begins and ends
16    each work period. Meal periods, and total hours worked daily shall also be
17    recorded. Additionally, pursuant to the applicable IWC Order § 7(A)(5), every
18    employer shall keep total hours worked in the payroll period and applicable rates of
19    pay.
20             31.     During the time period of employment for Plaintiff and the Aggrieved
21    Employees, Defendants failed to maintain records pursuant to the Labor Code and
22    IWC Orders by failing to maintain accurate records showing meal periods, and
23    accurate records showing when employees begin and end each work period.
24    Defendants’ failure to provide and maintain records required by the Labor Code
25    IWC Wage Orders deprived Plaintiff and the Aggrieved Employees the ability to
26    know, understand and question the accuracy and frequency of meal periods, and the
27    accuracy of their hours worked stated in Defendants’ records. Therefore, Plaintiff
28    and the Aggrieved Employees had no way to dispute the resulting failure to pay
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 1    wages, all of which resulted in an unjustified economic enrichment to Defendants.
 2    As a direct result, Plaintiff and the Aggrieved Employees have suffered and
 3    continue to suffer, substantial losses related to the use and enjoyment of such
 4    wages, lost interest on such wages and expenses and attorney’s fees in seeking to
 5    compel Defendants to fully perform its obligation under state law, all to their
 6    respective damage in amounts according to proof at trial. Because of Defendants’
 7    knowing failure to comply with the Labor Code and applicable IWC Wage Orders,
 8    Plaintiff and the Aggrieved Employees have also suffered an injury in that they
 9    were prevented from knowing, understanding, and disputing the wage payments
10    paid to them.
11             32.     Based on the conduct described in this Complaint, Plaintiff is entitled
12    to an award of civil penalties on behalf of himself, the State of California, and
13    similarly Aggrieved Employees of Defendants. The exact amount of the applicable
14    penalties, in all, is in an amount to be shown according to proof at trial. These
15    penalties are in addition to all other remedies permitted by law.
16             33.     In addition, Plaintiff seeks an award of reasonable attorney’s fees and
17    costs pursuant to Labor Code § 2699(g)(1), which states, “Any employee who
18    prevails in any action shall be entitled to an award of reasonable attorney’s fees and
19    costs.”
20                                     PRAYER FOR RELIEF
21             Plaintiff, on behalf of all similarly aggrieved employees, prays for relief and
22    judgment against Defendants, jointly and severally, as follows:
23             1.      That the Court declare, adjudge and decree that Defendants violated
24    the California Labor Code by failing to pay wages for all hours worked (including
25    minimum, straight time, and overtime wages), failing to provide meal periods,
26    failing to authorize and permit rest periods, failing to furnish accurate wage
27    statements, and failing to maintain accurate records of all hours worked and meal
28    periods;
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 1             2.      An award of civil penalties on behalf of himself and all similarly
 2    aggrieved employees pursuant to PAGA;
 3             3.      Pre-judgment and post-judgment interest at the maximum rate allowed;
 4             4.      Attorneys’ fees and costs reasonably incurred;
 5             5.      Injunctive and declaratory relief to the extent allowed by PAGA; and
 6             6.      Such other and further relief that the Court deems proper.
 7

 8    Dated: September 19, 2022                 Respectfully submitted,
 9                                                   MOON & YANG, APC
10
                                               By:
11                                                   Kane Moon
                                                     Allen Feghali
12                                                   Enzo Nabiev
                                                     Attorneys for Plaintiff
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14
                                    DEMAND FOR JURY TRIAL
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               Plaintiff demands a trial by jury as to all causes of action triable by jury.
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18
      Dated: September 19, 2022                      MOON & YANG, APC

19                                             By:
20                                                   Kane Moon
                                                     Allen Feghali
21                                                   Enzo Nabiev
                                                     Attorneys for Plaintiff
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